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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

JUSTIN M. HICKEY,

Plaintiff,                                                      Case No. 1:19-cv-00538

         v.                                                Honorable Judge Marcia A. Crone

THE CBE GROUP, INC.,

Defendant.

                                  NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that Justin M. Hickey (“Plaintiff”), hereby notifies the Court

that Plaintiff and Defendant The CBE Group, Inc., have settled all claims between them in this

matter. The Parties propose to file a stipulated dismissal with prejudice within 60 days of

submission of this Notice of Settlement and pray the Court to stay all proceedings until that time.



Respectfully submitted this 12th day of February 2020.

                                                             Respectfully submitted,

                                                             s/ Alexander J. Taylor
                                                             Alexander J. Taylor
                                                             Sulaiman Law Group, Ltd.
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                                                             Lombard, IL 60148
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                                                             Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Alexander J. Taylor____
                                                              Alexander J. Taylor




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